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                                                                                                                             Last revised 8/1/15
                                                      UNITED STATES BANKRUPTCY COURT
                                                             District of New Jersey
 IN RE:            Betina C. Finch                                                         Case No.:               12-37273
                                                                                           Judge:
                                                                Debtor(s)                  Chapter:                   13



                                                             CHAPTER 13 PLAN AND MOTIONS


    Original                                                         Modified/Notice Required          Discharge Sought
    Motions Included                                                 Modified/No Notice Required       No Discharge Sought

 Date:         6/2/2017 ''

                                                   THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                    CHAPTER 13 OF THE BANKRUPTCY CODE.


                                                            YOUR RIGHTS WILL BE AFFECTED.

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the actual
Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss them with
your attorney. Anyone who wishes to oppose any provision of this Plan or any motion included in it must file a
written objection within the time frame stated in the Notice. This Plan may be confirmed and become
binding, and included motions may be granted without further notice or hearing, unless written
objection is filed before the deadline stated in the Notice.


                           YOU SHOULD FILE A PROOF OF CLAIM BY THE DEADLINE STATED
                            IN THE NOTICE TO RECEIVE DISTRIBUTIONS UNDER ANY PLAN
                         THAT MAY BE CONFIRMED, EVEN IF THE PLAN REFERS TO YOUR CLAIM

 Part 1: Payment and Length of Plan

         a. The Debtor has paid $16,707 to date and shall pay $966.00 Monthly to the Chapter 13 Trustee,
 starting on June 10, 2017 for approximately 6 remaining months, for a total plan of approximately 60 months.


             b. The Debtor shall make plan payments to the Trustee from the following sources:
                           Future Earnings
                           Other sources of funding (describe source, amount and date when funds are available):




                                                                                    1
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             c. Use of real property to satisfy plan obligations:
                            Sale of real property
                            Description:
                            Proposed date for completion:

                                      Refinance of real property
                                      Description:
                                      Proposed date for completion:

                                      Loan modification with respect to mortgage encumbering property
                                      Description:
                                      Proposed date for completion:

             d.                       The regular monthly mortgage payment will continue pending the sale, refinance or
                                      loan modification.
             e.                       Other information that may be important relating to the payment and length of plan:


 Part 2: Adequate Protection
        a. Adequate protection payments will be made in the amount of $                                       to be paid to the Chapter 13
 Trustee and disbursed pre-confirmation to    (creditor).

        b. Adequate protection payments will be made in the amount of $                                       to be paid directly by the
 debtor(s) outside of the Plan, pre-confirmation to (creditor).

 Part 3: Priority Claims (Including Administrative Expenses)

             All allowed priority claims will be paid in full unless the creditor agrees otherwise:

 Creditor                                                              Type of Priority                                          Amount to be Paid
 Law Offices of Robert Manchel                                         Attorney Fee                                                     $3,500.00
]
 Part 4: Secured Claims
 Part 4: Secured Claims

               a. Curing Default and Maintaining Payments

          The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly
 obligations and the Debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the
 bankruptcy filing as follows:
                                                                                                      Interest Amount to be Paid   Regular Monthly
                                                                                                      Rate on     to Creditor (In Payment (Outside
 Creditor                                   Collateral or Type of Debt                  Arrearage   Arrearage              Plan)             Plan)
 Rushmore Loan                              Residence: 81 Cleveland                $0.00 per loan          n/a             $0.00 Regular Monthly
 Management Services LLC.                   Ave., Colonia, NJ                       modification                                        Payments
 assignee of Wells Fargo
 Bank NA.
 LOAN MODIFICATION APPROVED RE: 81 CLEVELAND AVE., COLONIA, NJ

               b. Modification

         1.) The Debtor values collateral as indicated below. If the claim may be modified under Section
 1322(b)(2), the secured creditor shall be paid the amount listed as the "Value of the Creditor Interest in
                                                                                   2
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 Collateral," plus interest as stated. The portion of any allowed claim that exceeds that value shall be treated
 as an unsecured claim. If a secured claim is identified as having "NO VALUE" it shall be treated as an
 unsecured claim.

                                       NOTE: A modification under this section ALSO REQUIRES
                                     the appropriate motion to be filed under Section 7 of the Plan.

                                                                                                                  Value of
                                                                                          Total                   Creditor      Annual     Total
                                                                      Scheduled      Collateral      Superior    Interest in   Interest    Amount to
 Creditor                        Collateral                                 Debt         Value         Liens     Collateral       Rate     Be Paid
 PRA Receivables                 2009 Mazda 6                         $21,006.00    $10,500.00         None     $10,500.00      4.25%      $11,673.62
 Management LLC.
 as Agent of Portfolio
 Recovery
 Associates LLC.,
 transferee of
 Santander
 Consumer USA
 Wells Fargo Bank                Residence:                          $174,990.00   $220,000.00    $294.347.94      $0.00          N/A $0.00
 NA., transferee of              81 Cleveland
 Wachovia Bank NA                Avenue
                                 Colonia, NJ



        2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the
 allowed secured claim shall discharge the corresponding lien.


         c. Surrender
         Upon confirmation, the stay is terminated as to surrendered collateral. The Debtor surrenders the
 following collateral:
 Creditor                                                Collateral to be Surrendered                 Value of Surrendered     Remaining Unsecured
                                                                                                                 Collateral                   Debt
 -NONE-




             d. Secured Claims Unaffected by the Plan

                   The following secured claims are unaffected by the Plan:
 Creditor
 -NONE-

 e. Secured Claims to be paid in full through the Plan
 Creditor                                                      Collateral                                   Total Amount to be Paid through the Plan
 -NONE-




                                                                                    3
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 Part 5: Unsecured Claims

             a. Not separately classified Allowed non-priority unsecured claims shall be paid:
                          Not less than $     to be distributed pro rata

                                      Not less than                  percent

                     X                Pro Rata distribution from any remaining funds

             b. Separately Classified Unsecured Claims shall be treated as follows:
 Creditor                                                Basis for Separate Classification           Treatment                        Amount to be Paid
 -NONE-

 Part 6: Executory Contracts and Unexpired Leases

             All executory contracts and unexpired leases are rejected, except the following, which are assumed:

 Creditor                                                Nature of Contract or Lease                 Treatment by Debtor
 -NONE-

 Part 7: Motions

 NOTE: All plans containing motions must be served on all potentially affected creditors, together with
 local form, Notice of Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J.
 LBR 3015-1. A Certification of Service must be filed with the Clerk of Court when the plan and
 transmittal notice are served.


             a. Motion to Avoid Liens under 11 U.S.C. Section 522(f).
             The Debtor moves to avoid the following liens that impair exemptions:

                                                                                                                             Sum of All
                                                                                                            Amount of       Other Liens
                          Nature of                                                           Value of        Claimed       Against the Amount of Lien
 Creditor                 Collateral              Type of Lien         Amount of Lien        Collateral     Exemption          Property to be Avoided
 -NONE-

             b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured.

        The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral
 consistent with Part 4 above:


 Creditor                                                      Collateral                                               Amount of Lien to be Reclassified
 Wells Fargo Bank NA., transferee of                           Residence:                                                                  100% of Lien
 Wachovia Bank NA                                              81 Cleveland Avenue
                                                               Colonia, NJ

         c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and
 Partially Unsecured.

         The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and
 to void liens on collateral consistent with Part 4 above:



                                                                                   4
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                                                                                                                          Amount to be
                                                                                             Amount to be Deemed         Reclassified as
 Creditor                                                Collateral                                       Secured            Unsecured
 PRA Receivables Management LLC. 2009 Mazda 6                                                          $11,673.62   Any and all balance
 as Agent of Portfolio Recovery                                                                                                     due
 Associates LLC., transferee of
 Santander Consumer USA




 Part 8: Other Plan Provisions
        a. Vesting of Property of the Estate
               Upon Confirmation
               Upon Discharge

       b. Payment Notices
       Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or
 coupons to the Debtor notwithstanding the automatic stay.


             c. Order of Distribution

             The Trustee shall pay allowed claims in the following order:
                    1)   Trustee Commissions
                    2)   Other Administrative Claims
                    3)   Secured Claims
                    4)   Lease Arrearages
                    5)   Priority Claims
                    6)   General Unsecured Claims


             d. Post-petition claims

       The Trustee is, is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section
 1305(a) in the amount filed by the post-petition claimant.


Part 9 : Modification
        If this plan modifies a plan previously filed in this case, complete the information below.
Date of Plan being modified:        .
Explain below why the Plan is being modified.                 Explain below how the Plan is being modified
 Part 1a increases trustee payment to complete plan within 60
 months.
 Part 4a reflects debtor entered into a loan modification and the
 loan modification has been approved.
 Are Schedules I and J being filed simultaneously with this modified                             Yes                No
 Plan?

 Part 10: Sign Here

             The debtor(s) and the attorney for the debtor (if any) must sign this Plan.




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                Date            6/2/ 2017                                    /s/ Robert Manchel
                                                                             Robert Manchel
                                                                             Attorney for the Debtor

             I certify under penalty of perjury that the foregoing is true and correct.

                Date: 6/2/ 2017                                              /s/ Betina C. Finch
                                                                             Betina C. Finch
                                                                             Debtor

                Date:
                                                                             Joint Debtor




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